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 4

 5                      UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA
 6

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 8
     UNITED STATES OF AMERICA
 9                                            ) Case No.: CR S-08-090 EJG
              Plaintiff,                      )
10                                            ) STIPULATION AND ORDER
           vs.                                ) CONTINUING SENTENCING HEARING
11                                            )
     LUCIANO PORCAYO, et. al.,                ) AND ADOPTING BRIEFING SCHEDULE
12                                            ) RE SENTENCING REPORT
                  Defendants.                 )
13                                            )
                                              )
14

15
                                        STIPULATION
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17
           The government and the defendant Luciano Porcayo, through undersigned
18
     counsel, stipulate and request that the sentencing hearing scheduled for September
19
     24, 2010 at 10:00 a.m. may be continued to Friday, December 10, 2010 at 10:00
20
     a.m. and that the Court order the following schedule for disclosure of the pre-
21
     sentence report and the objections thereto:
22
           Disclosure of draft report                    Oct. 22, 2010
23
           Written objections to PSR                     Nov. 5, 2010
24
           Filing and disclosure of PSR                  Nov. 12, 2010
25
           Motion for correction of PSR                  Nov. 26, 2010
26
           Reply or statement of non-opposition          Dec. 3, 2010
27
           The request for the continuance of the hearing and the new schedule
28
     regarding the sentencing report is made by the parties. Although the pre-sentence


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 1   interview has take place, additional information needs to be included in the report
 2   which requires an additional interview with the defendant and a Spanish
 3   interpreter. The defense and the probation officer request additional time to
 4   conduct the interview and have the report prepared. Further, the defendant may be
 5   able to benefit from possible assistance regarding a co-defendant who is currently
 6   pretrial and Mr. Porcayo is out of custody.
 7   Dated: September 16, 2010                      Respectfully submitted
 8                                                  /s/ Lindsay Weston
 9                                                  ___________________
10                                                  LINDSAY ANNE WESTON
                                                    Counsel to Luciano Porcayo
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13                                                  BENJAMIN WAGNER
                                                    United States Attorney
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15                                                  /s/ LAW for Samantha Spangler
16
                                                    [Per e-mail authorization]
                                                    _________________________
17
                                                    SAMANTHA SPANGLER
18                                                  Assistant United States Attorney
19
                                     ORDER
20
           IT IS SO ORDERED.
21
     DATED: September 16, 2010
22

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24
                                            /s/ Edward J. Garcia
25                                          EDWARD J. GARCIA
26
                                            United States District Judge
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